
12 N.Y.2d 798 (1962)
The People of the State of New York, Respondent,
v.
James McCants, Appellant.
Court of Appeals of the State of New York.
Argued October 30, 1962.
Decided December 6, 1962.
Hayden H. Dadd for appellant.
Joseph A. Ryan, District Attorney (Michael R. Canestrano of counsel), for respondent.
Concur: Judges DYE, FROESSEL, VAN VOORHIS, BURKE and FOSTER. Chief Judge DESMOND and Judge FULD dissent and vote to reverse and to order a hearing as to the allegations of the petition which, if proven, would have established that defendant had no meaningful or actual representation by counsel.
Order affirmed; no opinion.
